Case 2:21-cv-05832-GW-PD Document 39-1 Filed 02/07/22 Page 1 of 14 Page ID #:654




    1 McCormick, Barstow, Sheppard,
      Wayte & Carruth LLP
    2 James P. Wagoner, #58553
        jim.wagoner@mccormickbarstow.com
    3 Lejf E. Knutson, #234203
        lejf.knutson@mccormickbarstow.com
    4 Nicholas H. Rasmussen, #285736
        nrasmussen@mccormickbarstow.com
    5 Graham A Van Leuven, #295599
        graham.vanleuven@mccormickbarstow.com
    6 7647 North Fresno Street
      Fresno, California 93720
    7 Telephone: (559) 433-1300
      Facsimile: (559) 433-2300
    8
      Attorneys for Defendant New York
    9 Marine and General Insurance Company
  10                       UNITED STATES DISTRICT COURT
  11          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 Travelers Commercial Insurance             Case No. 2:21-cv-5832-GW (PDx)
     Company, a Connecticut Corporation,
  14                                            DECLARATION OF JAMES P.
                  Plaintiff,                    WAGONER
  15
           v.                                   Filed Concurrently with New York
  16                                            Marine’s Further Brief in Support of its
     New York Marine and General                Motion to Dismiss
  17 Insurance Company, a New York
     Corporation,                               Status Conference: February 17, 2022
  18                                            .
                  Defendant.                    Hon. George H. Wu
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                              DECLARATION OF JAMES P. WAGONER
Case 2:21-cv-05832-GW-PD Document 39-1 Filed 02/07/22 Page 2 of 14 Page ID #:655




    1        I, James P. Wagoner, do hereby declare as follows:
    2        1.     I am an attorney licensed to practice in the State of California, and am
    3 admitted to practice in the United States District Court for the Central District of
    4 California. I am a member of the firm of McCormick, Barstow, Sheppard, Wayte &
    5 Carruth, LLP, and in that capacity, represent Defendant New York Marine and
    6 General Insurance Company (“New York Marine”) in this action.
    7        2.     The facts herein are known to me and within my personal knowledge and
    8 if called upon to testify thereto, I could and would testify hereto.
    9        3.     This declaration is submitted in support of New York Marine’s
  10 Supplemental Briefing as requested by the Court during the parties’ January 27, 2020
  11 Status Conference.
  12         4.     Following the withdrawal of the Cameron McEvoy firm from the
  13 defense of the insured on November 6, 2021, New York Marine and Travelers entered
  14 into a series of discussions concerning the ongoing handling of the insureds’ defense.
  15 The result of those discussions was an agreement pursuant to which New York Marine
  16 would reimburse Travelers 50% of the defense fees and costs it incurred from
  17 Cameron McEvoy’s November 6, 2020 withdrawal.1 Consistent with that agreement,
  18 New York Marine obtained the invoices of independent counsel covering the period
  19 November 1, 2020 to February 28, 2021, and as memorialized in the correspondence
  20 to Travelers’ counsel, Mr. Peterson, made payment to Travelers on January 18, 2022
  21 in the amount of $621,693.43, reflecting 50% of fees and costs incurred by Charlson
  22 Bredehoft for in connection with the defense of the insured from November 6, 2021
  23 through February 28, 2021. A true and correct copy of my enclosing
  24 correspondence addressing the basis of New York Marine’s payment is attached
  25
  26    1
      Nevertheless, as this litigation makes clear, Travelers continues to insist that New
  27 York Marine reimburse it for defense fees incurred while New York Marine was
  28 defending through appropriately appointed defense counsel.

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                                  DECLARATION OF JAMES P. WAGONER
Case 2:21-cv-05832-GW-PD Document 39-1 Filed 02/07/22 Page 3 of 14 Page ID #:656




    1 hereto as Exhibit 1.
    2        5.      Thereafter, on January 20, 2022, following the status conference on
    3 that same date, Mr. Peterson emailed the undersigned counsel, states as relevant,
    4 as follows:
    5        Your cover letter sending the check, copy attached, states that “This
    6        amounts reflects reimbursement by New York Marine of 50% of the fees
    7        and costs paid by Travelers to the Charlson Bredehoft firm for its services
    8        and costs incurred between November 6, 2020 and February 28, 2021.”
    9
  10         I understand that New York Marine contends that it owes no contribution
  11         for fees and costs prior to November 6, 2020. The parties have briefed that
  12         issue, so positions are clear.
  13
  14         Please explain how it is that February 28, 2021, was used by New York
  15         Marine as the closing part of the four month time period reflected by this
  16         check. That is eleven months ago. Does New York Marine plan on paying
  17         50% of the fees incurred in the eleven months after that and into the
  18         future? Does it contend that it doesn’t owe those? If so, why? Is it
  19         agreeing to pay the fees incurred through this one law firm, but not other
  20         law firms? If so, why? Thank you for clarifying this.
  21 A true and correct copy of Mr. Peterson’s January 20, 2022 email is attached hereto
  22 as Exhibit 2.
  23         6.      In response, by letter of January 24, 2022, we confirmed for Mr. Peterson
  24 that New York Marine’s calculation was based on the amounts incurred by
  25 independent counsel from Cameron McEvoy’s November 6, 2020 withdrawal and the
  26 “exhaustion” of a purported “capped” fee agreement under which independent
  27 counsel had been retained by Travelers at the end of February 2021, as confirmed by
  28 Travelers. The letter further observed that New York Marine “has agreed and

                                                  3
                                  DECLARATION OF JAMES P. WAGONER
Case 2:21-cv-05832-GW-PD Document 39-1 Filed 02/07/22 Page 4 of 14 Page ID #:657




    1 continues to agree that it would participate with Travelers in the defense of the
    2 [Underlying Litigation]” by payment of “a 50% share of Travelers’ panel rates”
    3 pursuant to which independent counsel had been retained following the abrogation of
    4 its purported “capped” fee arrangement with Travelers in February 2021. A true and
    5 correct copy of the January 24, 2022 letter is attached hereto as Exhibit 3.
    6               7.    The January 24, 2022 letter further confirmed that New York Marine was
    7 in the process of reviewing additional invoices reflecting work performed by counsel
    8 from the period March through May 2021, but noted that despite letters to counsel
    9 dated April 28, 2021; June 9, 2021; June 14, 2021; July 21, 2021; and October 22,
  10 2021, “neither New York Marine nor our office has been provided with copies of
  11 invoices reflecting all the work performed since March 2021”, from any source, nor
  12 had it received “any status updates or other information concerning the present status
  13 of the defense and proceedings therein.”
  14                I declare under penalty of perjury that the foregoing is true and correct.
  15 Executed on February 7, 2022.
  16
  17                                             By:          /s/ James P. Wagoner
  18                                                           James P. Wagoner
  19    8197005.1


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                                      DECLARATION OF JAMES P. WAGONER
Case 2:21-cv-05832-GW-PD Document 39-1 Filed 02/07/22 Page 5 of 14 Page ID #:658




                         Exhibit 1

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                 Case 2:21-cv-05832-GW-PD Document 39-1 Filed 02/07/22 Page 6 of 14 Page ID #:659


 McCORMICK
           W                                   January 18,2022
 BARSTOW LLP
 ATTORNEYS AT LAW



           James P. Wagoner
                                               Vlt ElncrRoNrc Ma.rr, aNu FnunruL ExpRESS #7757 8890 9051
  jim.wagoner@mccormickbarstow,com


'Cerlifed Appellate Law Speclalist certified
 bythe Board ofLegal Specialization ofthe
                                               Mr. Mark D. Peterson
           Californla Stale Bar.               Cates Peterson LLP
                                               4100 Newport Place, Ste. 230
          FRESNO, CA oFF|CE                    Newport Beach, CA92660
        7647 Norlh Fresno Sfeet
         Fresno, California 93720
             P.0. Box 28912
         Fresno, CA 9372$8912
        Telephone (559) 43$1300
                                               Re: Deppv. Heard.Caseno.20l9-029TI.CircuitCottrtofFafufaxCotxrty.Yftginia
           Fax (559) 433-2300

                                               Dear Mark:

                                               Consistent with our prior correspondence of October 22,2021, enclosed please find
                                               New York Marine's check no. 0133191434 made payable to Travelers in the amount
                                               of $621,693.43. This amounts reflects reimbursement by New York Marine of 50% of
                                               the fees and costs paid by Travelers to the Charlson Bredehoft firm for its services and
             olher ofllce8 of
                                               costs incurred between November 6,2020 and February 28,2021 in the defense of
  MoCoRMICK BARSToW, SHEPPARD,
         WAYIE&CARRUTH LLP
                                               Ms. Heard in the above-referenced litigation.

   w. mccormickbarslow- com                    New York Marine continues to reserve all rights with respect to cost sharing with
                                               Travelers. If you wish to discuss anything herein, please don't hesitate to give us a call.
  BAKERSFIELD, CA OFFICE
 5060 California Ave., Suite 1090
   Bakersfiold, Califomia 93309
    Telephone (661 ) 616-1594                  Very truly yours,
       Fax (661 ) 616-1595


     clNctNNAT[, oH oFFtcE
     Scripps Centar, Suits 1050
         312 Walnut Skeet
       Cincinnati, Ohio 45202
     Telephone (513) 762-7520
        Fax (513)762-7521
                                               James P. Wagoner
                                               McCormick Barstow LLP
    LAS VEGAS, NV OFFICE
8337 Wast Sunset Road, Suite 350
    Las Vegas, Nevada 891 13
    Telaphons (702) 949-1 100
                                               Enclosure
         Fax (702) 949-1 101
                                               8149493.1
      MODESTO, CA OFFICE
        1 125 I Street, Suite I
     Modesto, California 95354
     Tolephone (209) 524{'100
         Fax (209) 524-1 188


       RENO, NV OFFICE
    241 Ridge Street, Suit€ 300
       Reno, Nevada 89501
    Telephons (775) 333-0400
       Fax (775) 333-0412


SAN LUIS OBISPO, CA OFFICE
656 Sanla Rosa Street, Suits 2A
San Luis Obispo, California 93401
              P.O. Box 3l
San Luis Obispo, California 93406
   Telephone (805) 541 -2800
      Fax (805) 54'l-2802




         Exhibit 1
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               Case 2:21-cv-05832-GW-PD Document 39-1 Filed 02/07/22 Page 7 of 14 Page ID #:660
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        a.b.-lpe.irl:y    lnlur Jn(e

      NEW YORK MARINE AND GENEML INSUMNCE CO.
      4L2 Mt. Kemble Avenue Suite 300C
      Morristown, NJ 07960




                                                                              1415 598


                          Mccormick Barstow LIP
      tlYill              Attn. ! rfaues P. Wagoner
      Hhl[:               7647 lforth Fresno Street
      HEIS                Fresno CA 93720




                                                                PAYMENT SUMMARY
           VENDOR NUMBER:                                                                CTIEGKDATE:    oLlL2l2022
               cHEcK NUMBEn:o 1 33 1 9 1 43 4                                               AMOUr{r:    62L,693.43
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            INVOICE NUMBEB


ooooooo0000002057 840                       Llt2/2022 Claiu * LAX0017777O                                                         62L,593.43
                                                      Reimbursement for Charlson Brederhoft
                                                      iovoi""s for 11 .5.2O2O - 2-28-2O2L I uepp v.
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NE\,\' YORK MARINE AND GENERAL INSUMNCE CO.                       Citizens Bank
412 tvlt. Kembje A\renue Suite 3()OC
Monisto\,vn, Nl 07960                                                                                    9NW
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tx Hu                                  Y   ET                   UNDB                          E DOIIARS 43 CENTS
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THE
ORDER
OF:
                          Travelers Commercial Insurance Company




  Exhibit 1

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Case 2:21-cv-05832-GW-PD Document 39-1 Filed 02/07/22 Page 8 of 14 Page ID #:661




                         Exhibit 2

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     Case 2:21-cv-05832-GW-PD Document 39-1 Filed 02/07/22 Page 9 of 14 Page ID #:662


Heather Ward

From:                             Mark D. Peterson <MarkPeterson@catespeterson.com>
Sent:                             Thursday, January 20, 2022 10:58 AM
To:                               Jim Wagoner; Nicholas Rasmussen
Subject:                          Travelers v. New York Marine (ProSight) (Depp v. Heard) -- Questions Regarding
                                  Payment
Attachments:                      Letter to Peterson from Wagoner w_ProSight check (1_18_22).PDF

Follow Up Flag:                   Follow up
Flag Status:                      Flagged


Jim and Nick:

At the hearing this morning, Jim informed the court that New York Marine has sent a check to Travelers ($621,693.43).
New York Marine’s filing today made the same point.

Your cover letter sending the check, copy attached, states that “This amounts reflects reimbursement by New York
Marine of 50% of the fees and costs paid by Travelers to the Charlson Bredehoft firm for its services and costs incurred
between November 6, 2020 and February 28, 2021.”

I understand that New York Marine contends that it owes no contribution for fees and costs prior to November 6, 2020.
The parties have briefed that issue, so positions are clear.

Please explain how it is that February 28, 2021, was used by New York Marine as the closing part of the four month time
period reflected by this check. That is eleven months ago. Does New York Marine plan on paying 50% of the fees
incurred in the eleven months after that and into the future? Does it contend that it doesn’t owe those? If so, why? Is it
agreeing to pay the fees incurred through this one law firm, but not other law firms? If so, why? Thank you for clarifying
this.

Mark

Mark D. Peterson
Cates Peterson LLP
4100 Newport Place
Suite 230
Newport Beach, CA 92660
Telephone Direct: (949) 252-2622
Telephone General: (949) 724-1180
Fax: (949) 724-1190
www.CatesPeterson.com




 Exhibit 2
                                                            1

                                                            9
Case 2:21-cv-05832-GW-PD Document 39-1 Filed 02/07/22 Page 10 of 14 Page ID #:663




                          Exhibit 3

                                       10
    Case 2:21-cv-05832-GW-PD Document 39-1 Filed 02/07/22 Page 11 of 14 Page ID #:664


Heather Ward

From:                            Jim Wagoner
Sent:                            Monday, January 24, 2022 3:13 PM
To:                              Mark D. Peterson
Cc:                              Nicholas Rasmussen
Subject:                         Travelers v. New York Marine (ProSight) (Depp v. Heard)
Attachments:                     Letter to Mark Peterson from Wagoner (1-24-2022).PDF



Please see attached correspondence.

Very truly yours,

James P. Wagoner
McCormick Barstow LLP
7647 North Fresno Street | Fresno, CA 93720
Main (559) 433.1300 | Direct (559) 433.2119
www.mccormickbarstow.com

*Certified Specialist in Appellate Law
The State Bar of California




     Exhibit 3


                                                          1

                                                         11
                 Case 2:21-cv-05832-GW-PD Document 39-1 Filed 02/07/22 Page 12 of 14 Page ID #:665



                                                January 24, 2022




          James P. Wagoner
                                                VIA ELECTRONIC MAIL ONLY
  jim.wagoner@mccormickbarstow.com

*Certified Appellate Law Specialist certified
by the Board of Legal Specialization of the
                                                Mr. Mark D. Peterson
            California State Bar.               Cates Peterson LLP
                                                4100 Newport Place, Ste. 230
          FRESNO, CA OFFICE                     Newport Beach, CA 92660
        7647 North Fresno Street
         Fresno, California 93720
             P.O. Box 28912
         Fresno, CA 93729-8912                  Re:    Depp v. Heard, Case no. 2019-02911, Circuit Court of Fairfax County, Virginia
        Telephone (559) 433-1300
           Fax (559) 433-2300



                                                Dear Mark:

                                                This letter responds to your email of January 20, 2022, following the conference with
                                                the Court of that same date.

                                                As an initial matter, and with respect to your inquiry “how it is that February 28, 2021,
          Other offices of
   McCORMICK, BARSTOW, SHEPPARD,                was used by New York Marine as the closing part of the four month time period
       WAYTE & CARRUTH LLP
                                                reflected by this check”, that date was chosen based on Ms. Johnson’s express
   www.mccormickbarstow.com                     representation to Mr. Battaglia, via an April 1, 2021 email, that “after I pay the February
                                                bill” from Charleson Bredehoft, “the capped fee will be exhausted”.1 The exhaustion
  BAKERSFIELD, CA OFFICE
 5060 California Ave., Suite 1090               of the purported “cap” at the end of February 2021 is likewise confirmed in the
  Bakersfield, California 93309
   Telephone (661) 616-1594                     “BUDGET MARCH 1, 2021 THROUGH MAY 30, 2022” prepared by Ms. Bredehoft
      Fax (661) 616-1595
                                                and provided to New York Marine by Ms. Johnson via a March 12, 2021 email in which
     CINCINNATI, OH OFFICE                      Ms. Bredehoft herself stated that the $2.5 million budget was “used up through the end
     Scripps Center, Suite 1050
         312 Walnut Street                      of February”. Finally, the exhaustion of the purported “cap” at the end of February
       Cincinnati, Ohio 45202
     Telephone (513) 762-7520                   2021 was also confirmed by Travelers’ own calculations and our own based on a review
        Fax (513) 762-7521
                                                of the invoices received.
    LAS VEGAS, NV OFFICE
8337 West Sunset Road, Suite 350
   Las Vegas, Nevada 89113                      With respect to your inquiries regarding fees incurred in the defense of the above-
   Telephone (702) 949-1100
      Fax (702) 949-1101                        referenced litigation since March 1, 2021, as explained in our April 23, 2021 call, as
                                                well as our letters of April 28, 2021 and June 9, 2021, New York Marine has agreed
      MODESTO, CA OFFICE
       1125 I Street, Suite 1
                                                and continues to agree that it would participate with Travelers in the defense of the
     Modesto, California 95354
     Telephone (209) 524-1100
                                                above-referenced litigation. Specially, and again as set forth therein, New York Marine
        Fax (209) 524-1188
                                                will make payments reflecting a 50% share of Travelers’ panel rates, which as agreed
       RENO, NV OFFICE
                                                and referenced in the May 18, 2021 agreement with the Charleson Bredehoft firm, were
    241 Ridge Street, Suite 300
       Reno, Nevada 89501
                                                to be $320 per hour for partners, $255 for associates, and $115 for paralegals, such that
    Telephone (775) 333-0400
       Fax (775) 333-0412
                                                1
SAN LUIS OBISPO, CA OFFICE
                                                  As you know, the purportedly “capped” agreement memorialized in Travelers’ June
 656 Santa Rosa Street, Suite 2A
San Luis Obispo, California 93401
                                                10, 2020 letter to Ms. Bredehoft provided for payment of the Charleson Bredehoft
          P.O. Box 31                           firm’s usual rates (instead of the more favorable panel rates upon which Travelers could
San Luis Obispo, California 93406
   Telephone (805) 541-2800                     have insisted) with the condition that the $2.5 million cap would cover all necessary
      Fax (805) 541-2802
                                                work by that firm “through post-trial motions”. Accordingly, and as has been
                                                previously expressed, it remains inexplicable to New York Marine why the (entirely
                                                predictable) extension of the trial date necessitated a renegotiation of that agreement if
              Exhibit 3                         it had ever been appropriate in the first place.

                                                                                 12
    Case 2:21-cv-05832-GW-PD Document 39-1 Filed 02/07/22 Page 13 of 14 Page ID #:666

                  Mr. Mark D. Peterson
                  January 24, 2022
                  Page 2


                  New York Marine’s share would be measured at a rate of $160 per hour for partners,
                  $127.50 per hour for associates, and $57.50 per hour for paralegals, subject to New
                  York Marine’s reservation of its rights.

                  As noted in our letter of June 9, 2021, New York Marine also agreed that it was
                  “amenable to the use of Travelers’ litigation guidelines” and would “take under
                  advisement determinations made by Travelers” with respect to the appropriateness of
                  those invoices for payment—though New York Marine reserved and continues to
                  reserve its right to review defense counsel’s invoices and “to make an independent
                  decision whether the time and services reflected therein [were] reasonable and
                  necessary to Ms. Heard’s defense”.

                  Nevertheless, as reflected in our letters of April 28, 2021; June 9, 2021; June 14, 2021;
                  July 21, 2021; and October 22, 2021, and notwithstanding its repeated agreement to
                  participate with Travelers, neither New York Marine nor our office has been provided
                  with copies of invoices reflecting all the work performed since March 2021, and only
                  recently received copies of invoices reflecting work performed from March through
                  May of 2021. New York Marine likewise has not received any status updates or other
                  information concerning the present status of the defense and proceedings therein.

                  Concerning the invoices covering work performed from March through May 2021,
                  New York Marine has now received copies of those invoices directly from defense
                  counsel. However, New York Marine has not received any information regarding the
                  application of Travelers’ litigation guidelines, invoice review, or payment of those
                  invoices. New York Marine is reviewing those invoices and at the same time is hereby
                  requesting invoices from defense counsel from May 2021 to the present. If Travelers
                  has made payments on any invoices reflecting work performed from March 2021 to the
                  present and has any documents or correspondence addressing its payments, please
                  provide them and New York Marine will make payments—as appropriate--following
                  its review. Likewise, to the extent that Travelers has any status reports regarding the
                  present posture of the defense, we would appreciate copies of those, as well.

                  In the meanwhile, we hope this serves to resolve your questions. Please note that New
                  York Marine continues to reserve all rights with respect to cost sharing with Travelers
                  and understands that Travelers’ rights are similarly reserved. If you wish to discuss
                  anything herein, please don’t hesitate to give us a call.

                  Very truly yours,



                  James P. Wagoner
                  McCormick Barstow LLP
Exhibit 3         8161784.1




                                                   13
Case 2:21-cv-05832-GW-PD Document 39-1 Filed 02/07/22 Page 14 of 14 Page ID #:667




    1                                 PROOF OF SERVICE
    2   Travelers Commercial Insurance Company v. New York Marine and General
                                  Insurance Company
    3                      Case No. 2:21-cv-5832-GW (PDx)
    4 STATE OF CALIFORNIA, COUNTY OF FRESNO
    5       At the time of service, I was over 18 years of age and not a party to this action.
      I am employed in the County of Fresno, State of California. My business address is
    6 7647 North Fresno Street, Fresno, CA 93720.
    7        On February 7, 2022, I served true copies of the following document(s)
      described as DECLARATION OF JAMES P. WAGONER on the interested parties
    8 in this action as follows:
    9 Mark D. Peterson
      Kathleen O. Peterson
   10 Amy Howse
      Cates Peterson LLP
   11 4100 Newport Place, Suite 230
      Newport Beach, CA 92660
   12 Telephone: (949) 724-1180
      Email: markpeterson@catespeterson.com
   13 kpeterson@catespeterson.com
      ahowse@catespeterson.com
   14
      Attorneys    for   Plaintiff  Travelers
   15 Commercial Insurance Company
   16
             BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
   17 the document(s) with the Clerk of the Court by using the CM/ECF system.
      Participants in the case who are registered CM/ECF users will be served by the
   18 CM/ECF system. Participants in the case who are not registered CM/ECF users will
      be served by mail or by other means permitted by the court rules.
   19
             I declare under penalty of perjury under the laws of the United States of
   20 America that the foregoing is true and correct and that I am employed in the office of
      a member of the bar of this Court at whose direction the service was made.
   21
             Executed on February 7, 2022, at Fresno, California.
   22
   23
                                                  /s/ Heather Ward
   24                                             Heather Ward
   25
   26
   27
   28

                                         14 OF JAMES P. WAGONER
                                 DECLARATION
